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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                                       CASE NUMBER:


THOMAS FEW                                                2:18−cv−09531−DDP−JEM
                                        PLAINTIFF(S)

       v.
UNITED TEACHERS LOS ANGELES , et al.

                                                           NOTICE TO FILER OF DEFICIENCIES IN
                                     DEFENDANT(S).
                                                                ATTORNEY CASE OPENING




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